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U.S. Department of Justice ) PROCESS RECEIPT AND RETURN

United States Marshals Service ‘ : FA LED See “Instructions for Service of Process by U.S: Marshal”

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PLAINTIFF , 1 oS COURT CASE NUMBER
_ Manuel Alejandro Camacho 7021 HAR II AMT: 29 __| 20-cv-3691-RBJ
DEFENDANT - , :

TYPE OF PROCESS
Cordova, Buen, Dibidsi, Smith, and Clear Creek County  Shdrifrts Oind C8 OLWELL - «| s/c '

 

 

: NAME OF INDIVIDUAL. COMPANY, , CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE ‘Buen BY DEP.CLK __.
‘ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
"Clear Creek County Sheriff's Office, 405 Argentine’ Street, Georgetown CO 80444

 

 

 

 

 

 

 

 

 

 

 

* SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW i Number of process to be. 1
“Manuel Alejandro Camacho served with this Form 285
#403197 ' vaya ee “s Number of parties to be served 5
Weld County Jail in this case #
2110 O Street Check for service
Greeley, CO 80631 on U.S.A. *
SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available Sor Service): : of
PERSONAL SERVI CE
Signature of Attorney other Originator requesting service on behalf of ~~ & PLAINTIFF | TELEPHONE NUMBER DATE ~ ° as
< s/J. Salzman, Deputy Clerk [] DEFENDANT 303-844-3433 02/03/2021+
~.SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
T acknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date,
number of process indicated. Origin ne Serve:. .
. (Sign only for USM 285 if more <> /; |;
than one USM 285 is submitted) S| No. 8 13 NoBAS 7 Yracrn ti. 2 16 /t6zl
ene

 

 

 

 

 

 

Thereby certify and return that 1k have personally served , [7] have legal evidence of service, 0. have executed as shown in , Remarks", the process described on the
individual, company, corporatio étc., at the address shown above on the on the individual, company, corporation, etc. shown at the address. inserted below.

 

[7] I hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below) *

 

Name and title of individual served (if not shown above) BJ . Time x am
, * . . . *
Noto (WY Nurerh ¢ t $O _ 13/4/74) Ht pm.
+ Address (complete only di ifferent than shown above) : i r Deputy

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Service Fee ° Total Mileage Charges Forwarding Fee Total Charges Advance Deposits | Amount o to U.S. Marshal* or
(ina{uding endeavors) (Amount of Refund*)

§ 130.00 SLs |. - IS4.0G
REMARKS Pro bs 5 ue) ie Gr ew by CUor (yee Sen Pes

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2070 -CV ~ 0369) A prov ©
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PRIOR VERSIONS OF murs FORM ARE OBSOLETE Rev. 11/18

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AO 440 (Rev. 06/ 12) ;Summons ina Civil Action (Page 2) so * » ak
Civil Action No. *20-cv-3691-RBJ Ce see ere ;
. . : +
PROOF OF SERVICE ,
i | (This section should not be fi led with the court unless required by Fed. R. Civ. P.»4 a . *
+ ,
This summons for (name of individual and title, if ‘any)" Puen: ‘
was received by me‘on (date) ‘ .
C) I personally served the summons on the individual at (place) . *
7 PS ‘ H
e on (date) 5 or .
27 I left the summons at the individual’ s residence or usual place of abode with (name) .
‘ ° , a person of suitable age. and discretion who resides there,
on (date) , , and mailed a Copy to the individual’s last known address; or .
6 I served the summons on (name of individual) Wy ale lye L (WW; Luan , who is ‘
* designated by law to accept service of process on:behalf of (name of organization) dew. Che ‘
Su Vis OFF w on fda) "HE [2 4
‘ ai seturned the summons unexecuted because . . ; or ,
‘ ' , #
oF Other (specify): 7 . « . 4 ‘

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My feesare$. [40 .W for travel and $. —>2- Lif for services, fora total of $ 0.00 .

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I declare under penalty of petjury that this informatioy is tyue.
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, Date: 2 v| : .
a 4 ee
q . 4 Server's signature

SO 233 Carton, DSA !

Printed name and title

£ ' v4

Server's address

+ | 4H. [G4 St, Ste 3eo hou very (2 46294

Additional: infokmation regarding attempted service, etc: ‘

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